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                              UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Newport News Division


   GAVIN GRIMM,

                         Plaintiff,


                                                                 Civil No. 4:15cv54

   GLOUCESTER COUNTY SCHOOL
   BOARD,

                         Defendant.



                                              ORDER


         Pending before the Court are a Motion to Strike Exhibits(ECF No.213)and Cross-Motions

  for Summary Judgment filed by Plaintiff Gavin Grimm(ECF No. 184)and Defendant Gloucester

  County School Board ("the Board")(ECF No 191). For the following reasons,the Board's Motion

  to Strike is GRANTED IN PART and DENIED IN PART, Mr. Grimm's Motion for Summary

  Judgment is GRANTED,and the Board's Motion for Summary Judgment is DENIED.

  I.     FACTUAL BACKGROUND


         Gavin Grimm is a twenty-year-old man who attended Gloucester High School, a public

  high school in Gloucester County, Virginia, from September 2013 until his graduation in June

  2017. See Gavin Grimm Decl.         3, 5, ECF No. 186. When Mr. Grimm was bom, hospital staff

  identified him as female. Id.^ 7. Despite this designation, Mr. Grimm has always "related to male

  characters" and "ha[s] always known that[he is] a boy." Id. ^ 6.

         When Mr. Grimm enrolled in the Gloucester County School System, he was listed as a girl.

  He began his freshman year in 2013 at Gloucester High School with a female birth certificate.

  Andersen Decl., ECF No. 196-6.


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           In April 2014, Mr. Grimm disclosed to his parents that he was transgender. Gavin Grimm

  Decl. H 20; Deirdre Grimm Decl. ^ 7, ECF No. 187. According to Dr. Melinda Penn, M.D.,^

  "gender identity" refers to "a person's innate sense of belonging to a particular gender." Penn

  Expert Rep. and Decl. H 17, ECF No. 192-3. She opines that people's gender identity usually

  matches the sex consistent with their external genitalia possessed at birth, but that transgender

  individuals have a gender identity different from the one assigned to them at birth. Id.                18-19.

           At Mr. Grimm's request, he began therapy in May 2014 with Dr. Lisa Griffin, Ph.D., a

  psychologist with experience counseling transgender youth. Gavin Grimm Decl.^ 24. Dr. Griffin

  diagnosed Mr. Grimm with gender dysphoria. Id. Dr. Griffin prepared a treatment documentation

  letter stating that Mr. Grimm has gender dysphoria, that he should present as a male in his daily

  life, that he should be considered and treated as a male, and that he should be allowed to use

  restrooms consistent with that identity. ECF No. 186-1 at 1.

           The American Psychiatric Association's Diagnostic & Statistical Manual of Mental

  Disorders("DSM V")defines "gender dysphoria" as a condition experienced by some transgender

  people that inflicts clinically significant stress because their gender identity differs from the sex

  assigned to them at birth. Penn Expert Rep. and Decl. 21. Dr. Penn's report explains that "to be

  diagnosed with gender dysphoria, the incongruence [between gender identity and assigned sex]

  must have persisted for at least six months and be accompanied by clinically significant distress

  or impairment in social, occupational, or other important areas offunctioning." Id.




  ' Mr. Grimm retained Dr. Penn to "provide expert testimony on the applicable standards of care and treatment
  guidelines for transgender youth." ECF No. 214-2 at 1. Dr. Penn is a pediatric endocrinologist with the Children's
  Hospital ofthe King's Daughters in Norfolk, Virginia, holds a medical degree from Eastern Virginia Medical School,
  and is board certified in pediatric endocrinology by the American Board of Pediatrics. ECF No. 192-3 THI3-4. One
  of her specialties is transgender health. Id.
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           During the course ofhis treatment for gender dysphoria, Mr. Grimm changed his first name

  legally to Gavin and began using male pronouns to describe himself. Gavin Grimm Decl.          23,

  25. He also began using men's restrooms in public venues. Id.       37,38. Dr. Griffin referred Mr.

  Grimm to an endocrinologist for hormone treatment around this time. Id. ^ 24.

           In August 2014, before the beginning of Mr. Grimm's sophomore year, Mr. Grimm and

  his mother met with Ms. Tiffany Durr, a school guidance counselor. Id.      26-27. They gave Ms.

  Durr a copy of Dr. Griffin's treatment documentation letter and requested that Mr. Grimm be

  treated as a boy at school. Id. Mr. Grimm and Ms. Durr agreed that Mr. Grimm would use the

  restroom in the nurse's office. Id. ^ 29.

           Mr. Grimm "soon found it stigmatizing to use a separate restroom," however, and "began

  to feel anxiety and shame surrounding [his] travel to the nurse's office." Id. He also found that

  the distance to this bathroom caused him to be late to class. Id.

           After a few weeks of using the restroom in the nurse's office, Mr. Grimm met with Ms.

  Durr and sought permission to use the school's male restrooms. Id.^ 33; Durr Dep. 23:6-17,ECF

  No. 192-11. Ms. Durr relayed Mr. Grimm's request to Principal Nate Collins. Durr Dep. 24:1-

  17. Principal Collins spoke with Superintendent Walter demons,who offered to support Principal

  Collins' ultimate decision. Collins Dep. 49:7-50:1,ECF No. 192-9; demons Dep. 24:4-20,ECF

  No. 192-10. Principal Collins allowed Mr. Grimm to use the male restrooms. Collins Dep.50:22-

  51:13.


           Mr. Grimm used the male restrooms at Gloucester High School for seven weeks. Gavin

  Grimm Decl.^36. During this time,there were no incidents in the restrooms involving Mr. Grimm

  and other students. Id. Mr. Grimm was given permission to complete his physical education
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  courses online and never needed to use the locker rooms at school. Gavin Grimm Dep. 96:14-

  97:9.


          Subsequently, however, Dr. demons, Principal Collins, and Board members began

  receiving complaints from adult members of the community who had learned that a transgender

  boy was using male restrooms at the high school. See Collins Dep.66:1-22; demons Dep.32:16-

  33:6; Def.'s Response to First Set of Interrogatories    1, ECF No. 192-1. Some members of the

  community demanded that the transgender student be barred from the male restrooms. Id. One

  student personally complained to Principal Collins. ECF No. 192-1 ^ 1.

          Following these complaints. Board member Carla Hook proposed the following policy at

  the Board's public meeting on November 11,2014:

          Whereas the GCPS recognizes that some students question their gender identities,
          and


          Whereas the GCPS encourages such students to seek support, advice, and guidance
          from parents, professionals and other trusted adults, and

          Whereas the GCPS seeks to provide a safe learning environment for all students
          and to protect the privacy of all students, therefore

          It shall be the practice ofthe GCPS to provide male and female restroom and locker
          room facilities in its schools, and the use of said facilities shall be limited to the
          corresponding biological genders, and students with gender identity issues shall be
          provided an alternative appropriate private facility.

  Hook Nov. 9,2014 Email, ECF No. 192-21.

          Mr. Grimm and his parents spoke against the proposed policy at the November 11, 2014

  meeting. Gavin Grimm Decl. ^ 40. The Board voted 4-3 to defer a decision regarding the policy

  until the next Board meeting on December 9, 2014. Recorded Minutes of the Board, Nov. 11,

  2014 at 4,ECF No. 192-37.
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         The Board passed the proposed policy on December 9, 2014 by a 6-1 vote. Recorded

  Minutes of the Board, Dec. 9, 2014, at 3, BCF No. 192-23. The Board also announced that it

  would construct single-stall, unisex restrooms for all students to use. Id. The following day.

  Principal Collins told Mr. Grimm that his further use of the male restrooms at Gloucester High

  School would result in disciplinary consequences. Collins Dec. 10, 2014 Memo to Deirdre and

  David Grimm,ECF No. 192-24; Gavin Grimm Decl. 1] 44.

         In December 2014, Mr. Grimm began hormone therapy. This "deepened [his] voice,

  increased [his] growth offacial hair, and[gave him]a more masculine appearance." Gavin Grimm

  Decl. H 60.

         Single-user restrooms had not yet been constructed when the Board enacted the policy.

  Gavin Grimm Decl. ^ 46. Mr. Grimm has recounted an incident when he stayed after school for

  an event, realized the nurse's office was locked, and broke down in tears because there was no

  restroom he could use comfortably. Id. A librarian witnessed this and drove him home. Id.

         Mr. Grimm also declared that when the single-user restrooms were built, they were located

  far from classes that he attended. Id. ^ 49. A map of the school confirms that no single-user

  restrooms were located in Hall D, where Mr. Grimm attended most classes. ECF Nos. 192-28,

  192-29. There was also no single-user restroom at the school's stadium, limiting Mr. Grimm's

  ability to attend events there. Gavin Grimm Decl. ^ 52.

         The single-stall restrooms made Mr. Grimm feel "stigmatized and isolated." Id. ^ 47. He

  never saw any other student use these restrooms. Id. ^ 48. Principal Collins testified at his

  deposition that he never saw a student use the single-user restrooms, but that he assumed that they

  were used because they were cleaned daily. Collins Dep. 132:7-20.
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         Mr. Grimm avoided using restrooms at school and later developed urinary tract infections.

  Gavin Grimm Decl.      51-52. This caused him to become distracted and uncomfortable in class.

  Id, Mr. Grimm's mother kept medication for urinary tract infections "always stocked at home."

  Deirdre Grimm Decl.^ 26.

         In June 2015, the Virginia Department of Motor Vehicles issued Mr. Grimm a state

  identification card identifying him as male. Gavin Grimm Decl. 61; ECF No. 41-2.

         During his junior year of high school, Mr. Grimm was admitted to the boys' ward at the

  hospital at Virginia Commonwealth University "because he was having thoughts of suicide."

  Deirdre Grimm Decl.^ 24.

         In June 2016, Mr. Grimm underwent chest-reconstruction surgery. Grimm Decl.^ 62.

         On September 9, 2016, the Gloucester County Circuit Court issued an order declaring Mr.

  Grimm's sex to be male and directing the Virginia Department of Health to issue him a birth

  certificate listing his sex as male. Id. T| 63; ECF No. 41-3. The order referred to Mr. Grimm's

  chest reconstruction surgery as "gender reassignment surgery" and concluded that Mr. Grimm is

  "now functioning fully as a male." ECF No. 41-3.

         On October 27, 2016, the Virginia Department of Health issued a birth certificate listing

  Mr. Grimm's sex as male. Gavin Grimm Decl. H 64; ECF No. 41-4. After receiving an updated

  birth certificate, Mr. Grimm and his mother provided Gloucester High School with a photocopy

  of it and asked that his school records be updated. Gavin Grimm Decl. ^ 66. The school has

  declined to correct Mr. Grimm's transcript, which still reflects his sex as female. ECF No. 41-5.
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          Troy Andersen, the Board's 30(b)(6) witness,^ testified that the Board has declined to

  update Mr. Grimm's transcripts because it believes that the amended birth certificate does not

  accord with Virginia law and because the photocopy presented was marked "void." Andersen

  Dep. 65:8-66:1, BCFNo. 192-13.

          On January 18,2017,the Board informed Mr. Grimm that he had a right to a hearing related

  to the Board's decision not to amend his official transcript and educational records. ECF No. 171-

  I. Mr. Grimm did not request a hearing.

          Mr. Grimm graduated high school on June 10,2017. Gavin Grimm Decl.^ 57. He is now

  attending Berkeley City College in California and intends to transfer to a four-year college. Id.

  1169.

  II.     PROCEDURAL BACKGROUND


          Mr. Grimm commenced this action against the Board on June 11, 2015, at the end of his

  sophomore school year, alleging that the Board's policy of assigning students to restrooms based

  on their biological sex violated Title DC of the Education Amendments of 1972, 20 U.S.C. §

  1681(a), and violated the Equal Protection Clause of the Fourteenth Amendment to the United

  States Constitution. ECF No. 1. This Court considered the Board's motion to dismiss Mr.

  Grimm's Amended Complaint. On May 22, 2018, this Court denied the motion to dismiss. ECF

  No. 148.


          In doing so, this Court held that a plaintiffs claim of discrimination on the basis of

  transgender status constitutes a viable claim of sex discrimination under Title IX. Id. at 13-21.

  Specifically, this Court relied on Price Waterhouse v. Hopkins, 490 U.S. 228 (1989), which held




  ^ Under Federal Rule of Civil Procedure 30(b)(6), if an organization is named as a deponent in a civil matter, the
  organization must designate one or more persons who consent to testify on its behalf. The Board designated Troy
  Andersen, a Board member, to testify on its behalf.
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  that Title VII of the Civil Rights Act of 1964 bars discrimination not only based on a person's

  gender, but also based on whether the person conforms to stereotypes associated with the person's

  gender.^       This Court joined the District of Maryland in concluding that under Title DC

  "discrimination on the basis of transgender status constitutes gender stereotyping because *by

  definition, transgender persons do not conform to gender stereotypes.'" M.A.B. v. Bd ofEduc. of

  Talbot Cty., 286 F. Supp. 3d 704, 714(D. Md.2018)(quoting Finkle v. Howard Cty., 12 F. Supp.

  3d 780, 787-88(D. Md. 2014)).^

          This Court also held that state action that discriminates against transgender individuals is

  subject to intermediate scrutiny under the Constitution's Equal Protection Clause for two reasons.

  BCF No. 148 at 25-28. First, transgender individuals constitute at least a quasi-suspect class. See

  M.A.B.,286 F. Supp. 3d at 718-20. Second, discrimination based on sex stereotypes constitutes a

  sex-based classification of a type subject to intermediate scrutiny. Id. at 718-19.

          On February 15, 2019, this Court permitted Mr. Grimm to file a Second Amended

  Complaint. This filing added a claim that the Board continues to discriminate against Mr. Grimm

  in violation of Title DC and the Equal Protection Clause by refusing to update his official school

  transcripts to reflect his sex as male. ECF No. 177.




  ^ Courts may, and frequently do, look to case law interpreting Title VII for guidance in evaluating a claim brought
  under Title IX. See, e.g., G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd. ("Gr/'/w/w /"), 822 F.3d 709, 718 (4th Cir.
  2016), vacated and remanded, 853 F.3d 729(Apr. 17, 2017)(citing Jennings v. Univ. ofN.C.y 482 F.3d 686,695(4th
  Cir. 2007)).

   The First, Sixth, Ninth, and Eleventh Circuits have all relied on Price Waterhouse in holding that claims of
  discrimination based on transgender status constitute per se sex discrimination under Title VII or other civil rights
  laws. See EEOC v. R.G. & G.R. Harris Funeral Homes, Inc., 884 F.3d 560,574-75(6th Cir. 2018)cert, granted 139
  S. Ct. 1599 (2019)(Title VII); Glenn v. Brumby, 663 F.3d 1312, 1316-19 (11th Cir. 2011)(Title VH and Equal
  Protection Clause); Smith v. City ofSalem, 378 F.3d 566, 513-15 (6th Cir. 2004)(Title VII and Equal Protection
  Clause); Rosa v. Park fV. Bank & Trust Co., 214 F.3d 213, 215-16 (1st Cir. 2000)(Equal Credit Opportunity Act);
  Schwenk v. Hartford, 204 F.3d 1187, 1201-03(9th Cir. 2000)(Gender Motivated Violence Act).

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         The parties filed motions for summaryjudgment. ECFNos. 184,191. The Board has also

  moved to strike certain exhibits relied upon by Mr. Grimm. ECF No. 213. On July 23,2019,this

  Court heard argument on these pending motions. ECF No. 228. The motions are now ripe for

  consideration.


  III.   LEGAL STANDARDS


         Rule 56 of the Federal Rules of Civil Procedure permits a party to move for summary

  judgment and directs a court to grant such motion "if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R.

  Civ. P. 56(a). The party "seeking summary judgment always bears the initial responsibility of

  informing the [court] of the basis for its motion, and identifying those portions of the pleadings,

  depositions, answers to interrogatories, and admissions on file, together with the affidavits,if any,

  which it believes demonstrate the absence of a genuine issue of material fact." Celotex Corp. v.

  Catrett, 477 U.S. 317, 323 (1986)(quotations omitted). Subsequently, the burden shifts to the

  non-moving party to present specific facts demonstrating that a genuine dispute of material fact

  exists for trial. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,475 U.S. 574, 586(1986)

  ("When the moving party has carried its burden under Rule 56(c), its opponent must do more than

  simply show that there is some metaphysical doubt as to the material facts."). For the evidence to

  present a "genuine" dispute of material fact, it must be "such that a reasonable jury could return a

  verdict for the nonmoving party." Anderson v. Liberty Lobby, Inc., All U.S. 242, 248 (1986).

  When deciding a motion for summary judgment, courts must view the facts, and inferences to be

  drawn from the facts, in the light most favorable to the non-moving party. Id. at 255.

         [A] party asserting that a fact cannot be or is genuinely disputed must support the
         assertion by:(A) citing to particular parts of materials in the record, including
         depositions, documents, electronically stored information, affidavits or
         declarations, stipulations (including those made for purposes of the motion only),
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         admissions, interrogatory answers, or other materials; or (B) showing that the
         materials cited do not establish the absence or presence ofa genuine dispute, or that
         an adverse party cannot produce admissible evidence to support the fact.

  Fed. R. Civ. P. 56(c).

         When ruling on a summary judgment motion,"a court may also give credence to other

  facts supporting the movant,regardless oftheir source, ifsuch facts are not challenged by the non-

  moving party because a failure to challenge proffered facts may render such facts 'admitted.'"

  XVP Sports, LLC v. Bangs, No.2:1 lcv379,2012 WL 4329258, at *4(E.D. Va. Sept. 17, 2012).

         As specified in Local Civil Rule 56(B),"the Court may assume that facts identified by the

  moving party in its listing of [undisputed] material facts are admitted, unless such a fact is

  controverted in the statement of genuine issues filed in opposition to the motion." E.D. Va. Loc.

  Civ. R. 56(B).

         The applicable standards for resolving the challenges raised by the Board's Motion to

  Strike are addressed where needed below.


  IV.    ANALYSIS


  A.     Motion to Strike Exhibits


         In his Reply in support of his Motion for Summary Judgment, Mr. Grimm submitted the

  following records:(1) a treatment documentation letter written by Dr. Griffin on May 26, 2014;

  (2) a hormone documentation letter written by Dr. Griffin on May 26, 2014;(3) a "To Whom It

   May Concern" letter written by Dr. Griffin on July 1, 2014;(4) a "To Whom It May Concern"

  letter written by Dr. Eva Abel, Psy.D.;(5)treatment records prepared by Dr. Hope Sherie, M.D.

  FACS;(6) a "To Whom It May Concern" letter written by Dr. Sherie on June 21, 2016; and (7)

  treatment records from VCU Medical Center.




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          The Board has filed a Motion to Strike Exhibits submitted by Mr. Grimm in support of his

  Motion for Summary Judgment. ECF No. 213. The Board seeks to strike four categories of

  exhibits:(1)the medical records kept by Dr. Penn, Dr. Griffin, and Dr. Sherie that are referred to

  above;(2)the "To Whom It May Concern" letters;(3) policy statements and amicus briefs relied

  upon by Mr. Grimm;and(4)references to a public hearing that was held in February 2019. These

  challenges are addressed in turn.

  1.      Medical Business Records


          The Board argues that Mr. Grimm's submission of medical records from Dr. Penn, Dr.

   Griffin, and Dr. Sherie constitute expert testimony and that these records must be stricken because

   Mr. Grimm did not disclose these experts under Federal Rule of Civil Procedure 26. Federal Rule

  of Civil Procedure 26 provides that a party must disclose, without awaiting a discovery request,

  any witness it may use to present evidence under Federal Rule of Evidence 702, 703, or 705

   governing expert testimony. Fed. R. Civ. P. 26(a)(2)(A). When a party does not comply with

   Rule 26(a), "the party is not allowed to use that information or witness to supply evidence on a

   motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless." Fed.

   R. Civ. P. 37.


          Mr. Grimm is not presenting these exhibits as expert opinion testimony and they are not

   govemed by Rules 702, 703, or 705. Mr. Grimm has established that he is using these records

   only to demonstrate the fact that Mr. Grimm was diagnosed with gender dysphoria and received

   treatment pursuant to that diagnosis. ECF No. 216 at 1-6. The Court is not asked to determine

   whether that diagnosis was medically sound. Nor is the Court asked to determine whether it was

   medically necessary for Mr. Grimm to use the restrooms consistent with his gender identity. Mr.

   Grimm does not seek such a ruling and reiterated this at oral argument. Draft Tr. at 11-12.



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          To support its request to strike, the Board cited cases that excluded documents that differ

  from the evidence submitted in this case. See ECF No. 214 at 6-7. In these decisions, the courts

  excluded expert reports that were not timely disclosed. See, e.g., United States ex rel Lutz, et al.

   V. Berkeley Heartlab, Inc., et al. No.9:11-CV-1593-RMG,2017 WL 5957738, at *1 (D.S.C. Dec.

   1,2017)(excluding expert reports opining that certain laboratory tests were medically necessary).

          By contrast, Mr. Grimm has submitted documents prepared contemporaneously to his

  treatment that detail the factual background attendant to his diagnosis and treatment. These

  documents are permissible. Morris v. Bland,666 F. App'x 233,239(4th Cir. 2016)(holding that

   physicians testifying as fact witnesses may "discuss their examination of [a patient] and their

  diagnoses or findings," but may not offer expert opinions as to proximate cause).

          These records also qualify as hearsay exceptions as defined in Federal Rule of Evidence

  803(6). Under Federal Rule of Evidence 803(6), records of an act, event, condition, opinion, or

  diagnosis are excluded from the bar against hearsay if:

         (A) the record was made at or near the time by-or from information transmitted
         by-someone with knowledge;

         (B)the record was kept in the course ofa regularly conducted activity ofa business,
         organization, occupation, or calling, whether or not for profit;

         (C)making the record was a regular practice of that activity;

         (D) all these conditions are shown by the testimony of the custodian or another
         qualified witness, or by a certification that complies with [certain rules or statutes];

          and


         (E) the opponent does not show that the source of information or the method or
         circumstances of preparation indicate a lack oftrustworthiness.

  Fed. R. Evid. 803(6).




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           Medical records are quintessentially business records, and Mr. Grimm has identified

   adequate custodians for each record presented. For these reasons, the Court denies the Board's

   Motion to Strike Mr. Grimm's medical documentation.

  2.       "To Whom It May Concern" Letters

           The Board also seeks to strike the "To Whom It May Concern" letters on the basis of

   hearsay. The Board asserts that such letters"are not the type ofrecords regularly kept in the course

   of a medical practice . . . ." ECF No. 214 at 7-8. The Board also argues that the letters are

  untrustworthy because they are addressed to unknown recipients. Id, at 8.

           The Board offers no support for its assertion that these letters are not the type of records

   kept regularly in the course ofthe medical practice. The fact that three different doctors prepared

  these types of letters contemporaneously with their treatment of Mr. Grimm suggests otherwise.^

           Regarding trustworthiness. Rule 803(6) makes clear that the burden of showing

   untrustworthiness falls on the opponent ofthe records. The Board cites Garrett v. City ofTupelo,

   No. l:16-cv-197, 2018 WL 2994808(N.D. Miss. June 14, 2018)to assert that letters addressed to

   unknown recipients are untrustworthy. However, Garrett did not turn on the identity of the

   recipient of information, but instead turned on the identity of the source of such information. Id.

   at *4(recognizing that documents may be untrustworthy when information comes from the patient,

   not the doctor,or when the ''source ofthe information is unknown")(emphasis added). The Board

   has not met its burden ofshowing that these documents are untrustworthy. Accordingly,the Court

   declines to strike the "To Whom It May Concern" letters provided by Dr. Griffin, Dr. Abel, and

   Dr. Sherie.




   ^ The Court also notes that the World Professional Association for Transgender Health acknowledges that the role of
   a health professional working with transgender youth encompasses providing referral letters for hormone therapy and
   includes advocacy on behalf oftheir patients at school. WPATH Standards of Care at 13, 31-32, ECF No. 192-5.

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  3.      Policy Statements and Amicus Briefs

          The Board seeks to strike evidence submitted by Mr. Grimm that include:(1) the World

  Professional Association for Transgender Health Standards of Care, (2) amicus briefs from a

  variety of organizations, including the American Academy of Pediatrics, the National Parent

   Teacher Association, and school administrators from thirty-three states and the District of

   Columbia; and (3)other documents reflecting the views of the American Psychological

   Association and National Association ofSchool Psychologists, Gender Spectrum,and the National

   Association of Secondary School Principals. See ECF No. 214 at 9-13.

          The Board does not dispute that the statements presented in these documents reflect the

   views of these organizations. Instead, the Board argues that Mr. Grimm cannot use these

  documents to prove the truth of the matters asserted. Mr. Grimm responds that he is using these

   documents only as evidence ofthese organizations' views. Given that there is no dispute regarding

  the propriety of the intended use of these documents, the Court need not strike them. The Court

   has considered these documents as evidence ofthe views ofthe organizations that prepared them,

   and not as substantive evidence of the accuracy of such views.

  4.      Public Hearing References

          On February 19, 2019, the Board announced that it was considering a new policy that

   would allow transgender students to use restrooms consistent with their gender identity if certain

   criteria were met. Feb. 3,2019 Press Release, ECF No. 192-35. The proposed policy arose out of

   settlement negotiations between the parties. Shayna Medley-Warsoff Decl. ^ 53, ECF No. 192.

   The policy was ultimately rejected.

          The Board argues that the Court should strike any evidence related to the February 2019

   hearing under Federal Rule of Evidence 408, which prohibits the use of evidence related to



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  compromise negotiations. At the summary judgment hearing, counsel for Mr. Grimm stated that

  the Court need not consider the statements made at the February 2019 hearing. Draft Tr. at 11.

   Accordingly, the Court has not considered evidence related to that hearing and GRANTS the

  Board's Motion to Strike any evidence related to it.

  B.      Gavin Grimm's Motion for Summary Judgment

   1.     Title IX


          Title DC provides that no person "shall, on the basis ofsex, be excluded from participation

  in, be denied the benefits of, or be subjected to discrimination under any educational program or

   activity receiving Federal financial assistance." 20 U.S.C.§ 1681(a);see also 34 C.F.R. § 106.31.

  To obtain relief for claims alleging a violation of Title DC, a plaintiff must demonstrate that(1)he

   or she was excluded from participation in an education program because of his or her sex;(2)the

   educational institution was receiving federal financial assistance at the time ofhis or her exclusion;

   and (3) the improper discrimination caused the plaintiff harm. Grimm /, 822 F.3d at 718 (citing

  Preston v. Virginia ex ret. New River Cmty. Coll., 31 F.3d 203, 206(4th Cir. 1994)). The Board

   does not dispute that it receives federal financial assistance. ECF No. 154 H 91. Accordingly, only

   the first and third elements are disputed.

          (a) Gavin Grimm was excluded from participation in an education program on the
          basis of sex.


          In its May 22,2018 Order, this Court concluded that claims of discrimination on the basis

   oftransgender status are per se actionable under a gender stereotyping theory. ECF No. 148 at 20.

   The Board argues that this decision was made in error and that "the plain language of Title IX and

   its implementing regulation, 34 C.F.R. § 106.33," define sex as a binary term encompassing the

   physiological distinctions between men and women. ECF No. 200 at 27-28.




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           The Board presents no intervening case law that compels reconsideration of this decision.

  To the contrary, every court to consider the issue since May 22,2018 has agreed with the analysis

  relied upon by this Court. See Doe by & through Doe v. Boyertown Area Sch. Dist., 897 F.3d 518,

  530 (3d Cir. 2018)(stating that a policy forcing transgender students to use separate facilities

  "would very publicly brand all transgender students with a scarlet'T,' and they should not have to

   endure that as the price ofattending their public school"); Adams by & through Kasper v. Sch. Bd.

  ofSt. Johns C/^., 318 F. Supp.3d 1293,1325(M.D.Fla. 2018)(holding that "the meaning of'sex'

  in Title DC includes 'gender identity' for purposes of its application to transgender students" and

  that the transgender student proved a Title DC violation where a school board denied him from

   using male restrooms, causing him harm) appeal docketed^ No. 18-13592 (11th Cir. Aug. 24,

  2018); Parentsfor Privacy v. Dallas Sch. Dist. No. 2, 326 F. Supp. 3d 1075, 1106(D. Or. 2018)

  ("Forcing transgender students to use facilities inconsistent with their gender identity would

   undoubtedly harm those students and prevent them from equally accessing educational

   opportunities and resources. Such a... District policy would punish transgender students for their

   gender noncomformity and constitute a form of sex-stereotyping.") appeal docketed^ 18-35708

  (9th Cir. Aug. 23,2018). This Court believes that this reasoning is sound and correct and declines

   to revisit its prior holding.

           In sum, there is no question that the Board's policy discriminates against transgender

   students on the basis of their gender noncomformity. Under the policy, all students except for

   transgender students may use restrooms corresponding with their gender identity. Transgender

   students are singled out, subjected to discriminatory treatment, and excluded from spaces where

   similarly situated students are permitted to go.




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          The Board responds that its policy treats all students equally on the basis of physiological

  or anatomical characteristics, and that these characteristics should not be considered sex

  stereotypes under Price Waterhouse. This argument is unpersuasive.

          The Board's policy relies on the term "biological gender." See BCF No. 192-21. As this

   Court recognized previously, biological gender is not a medically accepted term. See EOF No.

   148 at 14-15 (explaining that "sex" refers to biological attributes such as genes, chromosomes,

   genitalia, and secondary sex characteristics, and "gender" refers to the "'internal, deeply held

  sense' of being a man or woman'")(citing Wylie C. Hembree et al.^ Endocrine Treatment of

   Gender-dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice

   Guideline, 102(11), J. Clin. Endocrinology & Metabolism 3869, 3875 (2017)). The policy's

  use of an ambiguous term obscures the basis for excluding transgender students from restrooms

  that they believe are appropriate and safe for them.

          Moreover, the Board has inadequately explained the physiological and anatomical

   characteristics it relies upon to enforce its policy. For example, Mr. Grimm has had chest

  reconstruction surgery. The Gloucester County Circuit Court referred to Mr. Grimm's chest

  reconstruction surgery as "gender reassignment surgery," relying on that surgery in part in

   determining that Mr. Grimm is a male. However, this surgery is insufficient under the Board's

   policy. At the summary judgment hearing, counsel for the Board argued that an individual must

   have "the primary genitals and sex characteristic ofa particular gender." Draft Tr. at 26. "Primary

   genitals" may be sufficiently clear, but "sex characteristic" is troublingly ambiguous. Many

   aspects of biology determine a person's sex, including genitalia, and also including hormones,

   genes,chromosomes,and other factors that comprise a person's biological makeup. The policy at

   issue uses some of these factors to define sex and ignores others. In determining the physical



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  characteristics that define male and female and the characteristics that are disregarded, the Board

  has crafted a policy that is based on stereotypes about gender. See Brumby^ 663 F.3d at 1316("A

  person is defined as transgender precisely because of the perception that his or her behavior

  transgresses gender stereotypes. ... There is thus a congruence between discriminating against

  transgender and transsexual individuals and discrimination on the basis ofgender-based behavioral

  norms."); City ofLA., Dep't of Water & Power v. Manhart,435 U.S. 702,707(1978)(stating that

  protections from sex discrimination are not limited to discrimination based on "myths and purely

  habitual assumptions," but also extend to discrimination based on generalizations that are

  "unquestionably true").

           Additionally, Mr. Grimm has both a valid court order and a state-issued birth certificate

  identifying him as male. All other students with male birth certificates at Gloucester High School

  are permitted to use male restrooms. Mr. Grimm was the only student with a male birth certificate

  excluded from the male restrooms. This constitutes discriminatory treatment by the Board.

           Furthermore, the Board has refused to update Mr. Grimm's transcripts and education

  documents, despite his amended birth certificate. The Board argues that his amended birth

  certificate does not comply with Virginia law and questions its authenticity. Such questions have

  been dispelled by the Declaration of Janet M. Rainey. EOF No. 195. Ms. Rainey is the State

  Registrar and Director of the Division of Vital Records and administers Virginia's system of vital

  records in accordance with Virginia law. She issued Gavin Grimm an amended birth certificate

  on October 27, 2016 that identifies him as male. Id. Regardless of prior concerns about the

   amended birth certificate's authenticity,^ the Board's continued recalcitrance in the face of Ms.



   ® It is obvious from the face of the amended birth certificate that the photocopy presented to the Board was marked
  "void" because it was a copy of a document printed on security paper, not because it was fabricated. See ECF No.
  184-6 (a copy of Mr. Grimm's birth certificate, stating that it the original is printed on security paper and is void

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  Rainey's Declaration and the court order from the Gloucester County Circuit Court is egregious.

  It is also discriminatory. Other students in the Gloucester County School system with male birth

  certificates also have male transcripts. Undeniably, the Board discriminates against Mr. Grimm

  in violation of Title DC in refusing to afford him the same dignity.

           The Board also argues that Mr. Grimm has not proven that his use of male restrooms was

   medically necessary. However, the questions presented in this case do not require a finding that

   Mr. Grimm's use of a male restroom was medically necessary. The Board treated Mr. Grimm

   differently than other students on the basis of sex and, as established below, he suffered some

   measure of harm from that treatment. The existence of other methods of social transition for

  transgender individuals is, for the purposes of resolving the questions presented, irrelevant.

           The Court concludes that the Board has discriminated against Gavin Grimm on the basis

   of his transgender status in violation of Title IX. The Court must next determine whether the

  improper discrimination caused Mr. Grimm harm.

          (b)The Board's policy harmed Gavin Grimm.

           In his Declaration, Mr. Grimm described under oath feeling stigmatized and isolated by

   having to use separate restroom facilities. Gavin Grimm Decl.% 47. His walk to the restroom felt

   like a"walk ofshame." Id.^ 50. He avoided using the restroom as much as possible and developed

   painful urinary tract infections that distracted him from his class work.                      This stress "was

   unbearable" and the resulting suicidal thoughts he suffered led to his hospitalization at Virginia

   Commonwealth University Medical Center Critical Care Hospital. Id. ^ 54.

           Despite this evidence, the Board contends that Mr. Grimm has suffered no harm. ECF No.

   200 at 29-30. The Board has discounted Mr. Grimm's testimony that separate restroom facilities


   without a watermark). In any event, given Ms. Rainey's Declaration, the Board rationalizes its continuing denial of
   Mr. Grimm's amended birth certificate on specious grounds: that a photocopy was marked void.

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   caused him mental distress because he has not identified an expert to testify that he suffered such

   distress.^ Id. Similarly, the Board argues that Mr. Grimm cannot prove that he suffered from

   painful urinary tract infections because he presented no supporting medical evidence. Id.

           The Board's argument that Mr. Grimm's testimony regarding his harm is inadequate

   because it is not bolstered by expert testimony is untenable.^ The Board's argument has no basis

   in law. See Adams,318 F. Supp. 3d at 1316(relying on a transgender student's own testimony to

   conclude that the student suffered harm in the form ofstigma and humiliation).

           The Board's assertion that Mr. Grimm has suffered no harm as a result of its policy is

   strikingly unconvincing. Mr. Grimm broke down sobbing at school because there was no restroom

   he could access comfortably. After one breakdown, Mr. Grimm was hospitalized with suicidal

   thoughts. He avoided after-school activities such as football games. He experienced pain and

   discomfort as a result of avoiding restrooms while at school.^ Further expert testimony is

   unnecessary to conclude that the Board's policy harmed Mr. Grimm during his high school years.

           There is also sufficient evidence to conclude that the Board continues to harm Mr. Grimm

   by refusing to update his school records to reflect his male identity. Whenever Mr. Grimm has to

   provide a copy of his transcript to another entity, such as a new school or employer, he must"show

   them a document that negates[his] male identity and marks him different from other boys." Gavin



 'The Board "disputes" Mr. Grimm's statements regarding his harm suffered because the Board labels his Declaration
 as "self-serving." Dismissing a party's testimony as self-serving while failing to present contradicting evidence is
 plainly insufficient to establish a genuine dispute of material fact.

  " At the hearing, the Court read portions of Mr. Grimm's declaration into the record regarding the humiliation and
  stigma he suffered as a result of the Board's policy. The Court asked defense counsel whether that testimony could
   support a finding of harm, warranting at least an award of nominal damages. Counsel responded that "I think the
   answer is yes.... I don't think we can say there [are] no nominal damages here." Draff Tr. at 26.

 ' Medical documentation confirming that his discomfort was caused by urinary tract infections is irrelevant for the
 purposes presented here. There is sufficient evidence that Mr. Grimm suffered pain of some measure, for which he
 requests only injunctive relief and nominal damages.


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  Grimm Decl. T|69. The Board continues to harm Mr. Grimm every time he is asked to furnish his

  records. This harm compels at least an award ofinjunctive relief and nominal damages.

           Mr. Grimm has established(1)that he was excluded from the restrooms at Gloucester High

  School on the basis ofgender stereotypes;(2)the educational institution received federal financial

  assistance at the time of his exclusion; and (3) improper discrimination caused him harm. For

  these reasons, summary judgment is GRANTED in favor of Mr. Grimm regarding his claim

  asserting a violation of Title IX(Count Two).

  2.       Equal Protection Clause

           Mr. Grimm also alleges that the Board's actions violated the Equal Protection Clause of

  the Fourteenth Amendment to the United States Constitution, which provides that"[n]o State shall

  ...deny to any person within its jurisdiction the equal protection ofthe laws." U.S. Const, amend.

  XrV § 1. The Equal Protection Clause "is essentially a directive that all persons similarly situated

  should be treated alike." Whitaker by Whitaker v. Kenosha Unified Sch. Dist. No. I Bd. ofEduc.,

  858 F.3d 1034, 1050(7th Cir. 2017)(quoting City ofClehurne v. Cleburne Living Ctr., 473 U.S.

  432,439(1985)).

           In its May 22, 2018 ruling, this Court held that intermediate scrutiny must be applied in

   analyzing claims of discrimination against transgender individuals. ECF No. 148 at 24. Although

  the Board seeks reconsideration of this holding, it presents no authorities that compel a different

   result.'® Other courts that have considered this issue since May 2018 have agreed that heightened

  scrutiny applies. See, e.g., Karnoski v. Trump, 926 F.3d 1180, 1200-02(9th Cir. 2019)(holding

   that intermediate scrutiny applies to alleged discrimination against transgender individuals in the



     Instead, the Board's citations include out-of-circuit cases from the 1980s and 1990s, cases that interpret Title VII
   instead ofthe Equal Protection Clause, and cases that pertain to sexual orientation, not gender identity. The Board's
   citations are unpersuasive.


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  military); Adams by & through Kasper^ 318 F. Supp. 3d at 1296, 1312-13 (applying intermediate

  scrutiny and noting that"federal courts around the country have recognized the right oftransgender

  students to use the bathroom matching their gender identity"). In light of these rulings, this Court

  rejects defense counsel's argument that it is "step[ping] out on its own." See ECF No. 200 at 32.

           When applying intermediate scrutiny to a sex-based classification, the Board bears the

  burden of demonstrating that its proffered justification for its use of the classification is

  "exceedingly persuasive." United States v. Virginia, 518 U.S. 515, 533 (1996). The Board is

  required to demonstrate that the classification "serves important governmental objectives and that

  the discriminatory means employed are substantially related to the achievement of those

  objectives." Id. at 524.

          In response, the Board asserts an interest in protecting the privacy rights of students,

  specifically privacy interests that students have in protecting their unclothed bodies.'' ECF No.
  200 at 33. There is little doubt that students have a privacy right in avoiding exposure of their

  unclothed bodies.


           Defendant makes no showing,however,that the challenged policy is "substantially related"

  to protecting student privacy. First, it is undisputed that the Board received no complaints

  regarding any encounter with Mr. Grimm in a restroom. Andersen Dep. 13:20-14:5. The fact that

   Mr. Grimm used male restrooms for seven weeks without incident is evidence suggesting that the

   Board's privacy concerns are unwarranted. Cf. Whitaker,858 F.3d at 1052(noting that the school

   district's privacy argument was undermined by the fact that a transgender boy used male restrooms

  for six months without incident).




  '' The Board cites a case involving strip searches of students. See ECF No. 200 at 33 (citing Doe v. Renfrew, 631
  F.2d 91, 92-93 (7th Cir. 1980)). Those situations are starkly distinct from transgender students seeking to use a
   restroom,


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          The Board's privacy argument also ignores the practical realities of how transgender

  individuals use a restroom. See Grimm /, 822 F.3d at 723 n.10(expressing doubt that "G.G.'s use

  ... or for that matter any individual's appropriate use of a restroom" would involve the types of

  intrusions present in other cases where privacy abuses were found); Whitaker, 858 F.3d at 1052

  (holding that a similar policy "ignores the practical reality of how [the plaintiff], as a transgender

  boy, uses the bathroom: by entering a stall and closing the door"); Adams,318 F. Supp.3d at 1296,

   1314 ("When he goes into a restroom, [the transgender student] enters a stall, closes the door,

  relieves himself, comes out of the stall, washes his hands, and leaves.").

          At the summary judgment hearing, defense counsel conceded that there is no privacy

  concem for other students when a transgender student walks into a stall and shuts the door. Draft

  Tr. at 38. However, the Board's 30(b)(6) witness, Troy Andersen, testified that privacy concems

  are implicated when students use the urinal, use the toilet, or open their pants to tuck in their shirts.

   Andersen Dep. 30:10-20. When asked why the expanded stalls and urinal dividers could not fully

  address those situations, Mr. Andersen responded that he "was sure" the policy also protected

  privacy interests in other ways, but that he "[couldn't] think ofany other off the top of[his] head."

  Id. This Court is compelled to conclude that the Board's privacy argument "is based upon sheer

  conjecture and abstraction." See Whitaker, 858 F.3d at 1052.

          Even if there were a plausible risk of exposure to nudity, transgender individuals often

  undergo a variety ofprocedures and treatments that result in anatomical and physiological changes,

  such as puberty blockers and hormone therapy. Such treatments can result in transgender girls

  developing breasts or transgender boys developing facial hair. If exposure to nudity were a real

  concem, forcing such a transgender girl to use the male restrooms could likely expose boys to




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  viewing physical characteristics of the opposite sex. From this perspective, the Board's privacy

  concerns fail to support the policy it implemented.

          When asked why transgender students present a greater risk of invasion of privacy to

  students than the risk from someone of the same physiological sex, Mr. Andersen answered "I

   would say that it just goes back to [bathroom] use relying on the social norms of binary sexes."

   Andersen Dep. 31:4-10. However,"mere negative attitudes, or fear, unsubstantiated by factors

   which are properly cognizable ... are not permissible bases" for discrimination. Cleburne Living

   Ctr., 473 U.S. at 448. The Board has failed to meet its burden to provide an "exceedingly

  persuasive justification" for its policy. Accordingly, its policy must be found unconstitutional

   under the Equal Protection Clause.

          Moreover, the Board's continued refusal to update Mr. Grimm's school records implicates

   no privacy concerns. The Board has put forward no justification for refusing to correct these

  records other than alleged concerns about his amended birth certificate's compliance with law and

   authenticity. These unsubstantiated doubts are easily dispelled by Janet Rainey's Declaration.

          For these reasons, summary judgment must be GRANTED in favor of Gavin Grimm on

   his claim for a violation of the Equal Protection Clause(Count One).

  3.      Mr. Grimm's request for a permanent injunction

          Mr. Grimm seeks an injunction requiring the Board to update his school records to reflect

   his male identity. To obtain a permanent injunction, a plaintiff must show:"(1)irreparable injury,

  (2) remedies at law are inadequate to compensate for that injury,(3) the balance of hardships

   between the plaintiff and defendant warrants a remedy, and (4) an injunction would not disserve

   the public interest." Raub v. Campbell^ 785 F.3d 876, 885 (4th Cir. 2015)(internal quotations




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  omitted). "[T]he deprivation of constitutional rights unquestionably constitutes irreparable

  injury." Melendres v. Arpaio,695 F.3d 990, 1002(9th Cir. 2012)(internal quotations omitted).

           The Court has already determined that Mr. Grimm has suffered injury that is ongoing and

  thus cannot be compensated by mere monetary damages. The balance of hardships also weighs in

   Mr. Grimm's favor. The Board has not identified any difficulty in altering Mr. Grimm's records.

  Nor has it identified any other governmental interest in refusing to update Mr. Grimm's records

  other than those already addressed in this Order. By contrast, Mr. Grimm suffers great hardship

  when he presents school records that negate his male identity. Finally, an injunction would serve

  the public's interest in upholding constitutional rights. See Centro Tepeyac v. Montgomery Cty.,

  722 F.3d 184, 191 (4th Cir. 2013)(en banc)(internal quotations omitted). For these reasons, a

  permanent injunction requiring the Board to update Mr. Grimm's school records is warranted.

  C.       Gloucester County School Board's Motion for Summary Judgment

           The Board also moves for summary judgment. ECF No. 195. The Board first argues that

  Title DCs prohibition of discrimination "on the basis of sex" does not encompass the Board's

  policy and that the definition of sex in the statute and its implementing regulation do not account

  for gender identity. ECF No. 196 at 10-30. The Court rejected this argument on May 22, 2018

  and it reaffirms that holding today.

           Regarding the Equal Protection Clause, the Board argues that its policy should not be

  subjected to heightened scrutiny but should be subjected to a lower level ofscrutiny: rational basis

  review.'^ Id. at 32-37. The Board argues that its policy survives such review. Id. The Court


    Much ofthe Board's Summary Judgment Motion is an attempt to relitigate this Court's prior holdings. For example,
  the Board argues that if"sex" were equated with "gender identity," Title IX and its regulations would be invalid for
  lack ofclear notice. ECF No. \96 2X29-30{cximgPennhurstState Sch. &Hosp. v. Halderman,A5\ U.S. 1,17(1981)).
   This Court found this exact argument "unavailing." ECF No. 148 at 20 n.11.

     Under rational basis review, a court analyzes whether a law is "rationally related to a legitimate governmental
   interest." U.S. Dep't. ofAgric. v. Moreno,413 U.S. 528,533(1973).

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  again rejects this argument. The Board also reasserts that its policy survives intermediate scrutiny

  for the same reasons advanced in opposition to Mr. Grimm's Motion for Summary Judgment, as

  addressed above. Those arguments remain unavailing. Accordingly, the Gloucester County

  School Board's Motion for Summary Judgment, EOF No. 195, is DENIED.

  V.       CONCLUSION


           Parents, teachers and administrators share "a solemn obligation to guard the well-being of

  the children in their charge." Adams, 318 F. Supp. 3d at 1296.

              As recent events from around the country have tragically demonstrated, this
              is a very challengingjob. Recognizing the difficulty ofthis task and that local
              school boards,answerable to the citizens oftheir community,are best situated
              to set school policy, federal courts are reluctant to interfere. Nevertheless,
              the federal court also has a solemn obligation: to uphold the Constitution and
              laws ofthe United States. That is why federal courts around the country have
              recognized the right of transgender students to use the bathroom matching
              their gender identity.

  Id.
           Nelson Mandela said that "[hjistory will judge us by the difference we make in the

  everyday lives of children." One need only trace the arduous journey that this litigation has

  followed since its inception over four years ago to understand that passion eind conviction have

  infused the arguments and appeals along the way.'"* The Board undertook the unenviable


    A cursory collection ofsalient events docketed in this matter include the following: the initial Complaint, June 11,
  2015; a Motion to Dismiss Complaint argued, July 27, 2015, and partially granted; Order denying Plaintiffs Motion
  for Preliminary Injunction, September 4, 2015; Order denying an injunction appealed to the United States Court of
  Appeals for the Fourth Circuit, September 8,2015; the Memorandum Opinion granting dismissal and denying motion
  for injunction, September 17, 2015; the Fourth Circuit's partial reversal ofdismissal Order, April 19, 2016; the Order
  permitting Plaintiffs use of male restrooms at Gloucester County High School, June 23, 2016; Defendant's appeal of
  the June 23, 2016 Order, June 27, 2016; the Order denying a stay pending appeal, July 6, 2016; the United States
  Supreme Court's stay of the injunction pending resolution of an anticipated petition for writ of certiorari, August 3,
  2016; the Fourth Circuit vacating the preliminary injunction, April 7, 2017; reassignment of the case to the
  undersigned, June 6, 2017; an Amended Complaint, August 22, 2017; a Motion to Dismiss Amended Complaint,
  September 22, 2017; supplemental briefing ordered, October 26, 2017; an Amended Motion to Dismiss, January 5,
  2018; an Order denying the Amended Motion to Dismiss, May 22, 2018; Order granting a Motion for Leave to take
  Interlocutory Appeal, June 5, 2018; a Second Amended Complaint, February 15, 2019; cross-motions for summary
  judgment, March 26,2019; Defendant's Motion to Exclude and Strike Exhibits, April 30,2019; and oral argument on
  cross-motions for summary judgment and on the Motion to Strike, July 23, 2019.


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  responsibility of trying to honor expressions of concern advanced by its constituency as it

  navigated the challenges presented by issues that barely could have been imagined or anticipated

  a generation ago. This Court acknowledges the many expressions ofconcem arising from genuine

  love for our children and the fierce instinct to protect and raise our children safely in a society that

  is growing ever more complex. There can be no doubt that all involved in this case have the best

  interests of the students at heart.


           At the same time, the Court acknowledges that for seven weeks, the student body at

  Gloucester High School accommodated Mr. Grimm without incident as he—^assisted by

  compassionate school and medical representatives—^took new paths in his everyday life. This

  Court is compelled to acknowledge too that some of the external challenges seeking to reroute

  these new paths inflicted grief, pain, and suicidal thoughts on a child.

           However well-intentioned some external challenges may have been and however sincere

  worries were about possible unknown consequences arising from a new school restroom protocol,

  the perpetuation of harm to a child stemming from unconstitutional conduct cannot be allowed to

  stand. These acknowledgements are made in the hopes of making a positive difference to Mr.

  Grimm and to the everyday lives ofour children who rely upon us to protect them compassionately

  and in ways that more perfectly respect the dignity ofevery person.

           Therefore, the Board's Motion to Strike, ECF No. 213, is GRANTED IN PART and

  DENIED IN PART. Gavin Grimm's Motion for Summary Judgment, ECF No. 184, is

  GRANTED. The Board's Motion for Summary Judgment, ECF No. 191, is DENIED.




    "When confronted with something affecting our children that is new, outside of our experience, and contrary to
  gender norms we thought we understood, it is natural that parents want to protect their children. But the evidence is
  that [the plaintiff] poses no threat to the privacy or safety of any of his fellow students. Rather,[the plaintiff] is just
  like every other student...,a teenager coming ofage in a complicated, uncertain and changing world." Adams,318
  F. Supp. 3d at 1297.

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            The Court ORDERS the following relief:

              • The Court DECLARES that the Board's policy violated Mr. Grimm's rights under

                  the Fourteenth Amendment to the United States Constitution and Title IX of the

                  Education Amendments of 1972, on the day the policy was first issued and

                  throughout the remainder of his time as a student at Gloucester High School;

              • The Court DECLARES that the Board's refusal to update Mr. Grimm's official

                  school transcript to conform to the "male" designation on his birth certificate

                  violated and continues to violate his rights under the Fourteenth Amendment to the

                  United States Constitution and Title IX of the Education Amendments of 1972;

               • Nominal damages are awarded to Mr. Grimm in the amount of one dollar;

               • The Court issues a permanent injunction requiring the Board to update Mr.

                  Grimm's official school records to conform to the male designation on his updated

                  birth certificate and to provide legitimate copies of such records to Mr. Grimm

                   within ten days of the date of this Order;

               • The Board shall pay Mr. Grimm's reasonable costs and attomeys' fees pursuant to

                  42U.S.C. § 1988.

            The Clerk is REQUESTED to forward a copy of this Order to all parties and coimsel of

  record.


            IT IS SO ORDERED.



                                                                   Aren^a L. Wngbt^llen
                                                                 United States District Judge




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